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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


In the Matter of:                          )
                                           )              Case No.: 2:25-mj-349
United States of America                   )
           v.                              )
Austin Pittman                             )              Magistrate Judge Vascura
5315 Goldfield Drive                       )
Hilliard, Ohio 43026                       )


                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
        I, Sara Sellers (Your Affiant), a Special Agent (SA) with the Homeland Security
Investigations (HSI), being first duly sworn, hereby depose and state as follows:

                                     INTRODUCTION

   1. I, Special Agent Sara Sellers (your affiant), make this affidavit in support of a criminal
      complaint to arrest for violations of 18 U.S.C. §§ 2252, 2252A – the distribution,
      transmission, receipt, and/or possession of child pornography, or attempts of such as well
      as 18 U.S.C. §§ 2252A(a)(5)(B) and (a)(7) – the possession of AI generated child
      pornography and the production of a morphed image or IA generated child pornography.
      Since this affidavit is being submitted for the limited purpose of securing a criminal
      complaint and arrest warrant, your affiant did not include each fact known concerning this
      investigation. Your affiant did not withhold any information or evidence that would negate
      probable cause. Your affiant set forth only the facts that are believed to be necessary to
      establish probable cause that Austin Pittman (PITTMAN) committed the violations listed
      above.

   2. I am a Special Agent (SA) of Homeland Security Investigations (HSI), assigned to the
      Office of the Assistant Special Agent in Charge, Columbus, Ohio since December 2020.
      During my tenure as a Special Agent, I have completed the Criminal Investigator Training
      Program (CITP) and the Homeland Security Investigations Special Agent Training
      Program (HSISAT) at the Federal Law Enforcement Training Center (FLETC) in Glynco,
      Georgia. During CITP and HSISAT I have received training that included cybercrimes,
      sexual exploitation of minors, child pornography, and the dark web. I am currently based
      out of the Franklin County Sheriff’s Office Internet Crimes Against Children (ICAC) Task
      Force investigating child exploitation and am responsible for enforcing federal law in
      numerous counties in the Southern District of Ohio. Moreover, I am a federal law
      enforcement officer who is engaged in enforcing federal criminal laws, including 18 U.S.C.
      § 2252, and 2252A, and I am authorized by law to request a criminal complaint and arrest
      warrant.
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                                 PROBABLE CAUSE

3. In January 2025, law enforcement assigned to the Franklin County Internet Crimes Against
   Children (ICAC) Task Force received multiple CyberTipline Reports from the National
   Center for Missing and Exploited Children (NCMEC) from MediaLab/ Kik (listed as Kik).
   The CyberTipline Reports involved a user uploading suspected child sexual abuse material
   (CSAM). The CyberTipline Reports incident dates ranged from June 24, 2024, through
   September 23, 2024 and were listed as #196156839, #197280841, #197287780,
   #198584122, and #199911156.

4. As an example of the content being uploaded as flagged in the reports, CyberTipline Report
   #19911156 contained file name f8d45850-3d9d-48a1-aad9-94d2a1433343.mp4, which
   contained an approximately 14 second video which depicted a prepubescent female
   performing oral sex on what appeared to be an adult male penis.

5. The CyberTipline Reports contained Kik user IDs with “daviddivad” in the name followed
   by different numbers. All but one of the CyberTipline Reports shared a common IP address
   in the login history - 65.185.46.165. Ohio ICAC generated a subpoena for subscriber
   information related to IP address 65.185.46.165 and learned the subscriber address was
   listed as 509 E. Beck St. Columbus, Franklin County, Ohio 43206.

6. Further investigation revealed 509 East Beck Street was discovered to be the west unit of
   a duplex and 511 E. Beck Street was the east unit. Law enforcement conducted open
   source, closed source, and social media searches on 511 and 509 East Beck Street and
   learned Austin PITTMAN was found to be associated with 511 E. Beck Street.

7. Images of PITTMAN were identified on social media, some of which depicted the
   PITTMAN in what appeared to be military uniforms.

8. The ICAC then deconflicted based on username “daviddivad” which led to the discovery
   of additional CyberTipline Reports to include #202040695, #203577300, #170917258 and
   #173270849. These CyberTipline Reports were all from Kik as well. Law enforcement
   with the Franklin County ICAC contacted the investigators assigned to CyberTipline
   Reports #170917258 and #173270849 and learned they were from North Carolina,
   specifically Fort Bragg. The investigation revealed PITTMAN was the target of the Fort
   Bragg investigation as well based on subpoena results from Charter Communications
   which returned to PITTMAN. He was also given an “Other than Honorable Discharge”
   from the Army.

9. For example, CyberTipline Report #202040695 was received by NCMEC on November 7,
   2024 concerning an incident which occurred on October 27, 2024. Kik provided suspect
   information, home email address: moxapap693@bulatox.com; screen/user name:
   daviddivad1010; display name: DavidDivad1010; ESP User ID: daviddivad1010_d8m.
   That report noted four files were sent from this user to another from IP address
   65.185.46.165 to include file name dd99f332-2253-40d3-9d6b-e6dcd66e03e1.mp4 which
   contained an approximately 15 second video which depicted a prepubescent female,
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   approximately 6-8 years old, sitting on a bed. An adult male is then seen inserting his penis
   into her vagina as she winced in discomfort.

10. Law enforcement with the ICAC conducted surveillance at 509/ 511 E. Beck St. and
    discovered a vehicle that was registered to a family member of PITTMAN who had been
    associated to the address of 511 E. Beck Street. Surveillance continued at the address,
    however, investigators learned in the beginning of March 2025, PITTMAN and his family
    oved out of 511 E. Beck Street to the address of 5315 Goldfield Drive, Hilliard, Franklin
    County, Ohio 43026.

11. On April 29, 2025, a residential search warrant for 5315 Goldfield was obtained. It was
    executed the following day. PITTMAN was on scene and, after receiving his Miranda
    warnings, admitted he did live at 511 E. Beck St. and the internet was paid for by the unit
    at 509 but he was given access. PITTMAN also admitted to creating Kik accounts with
    the username “daviddivad” and viewing child pornography for the “shock factor”.
    PITTMAN further stated he would send child pornography to others in exchange for more
    and that he has a pornography addiction. PITTMAN was then arrested on various
    Pandering Sexually Oriented Material Involving a Minor charges in violation of Ohior
    Revised Code Section 2907.322. His cellphone, an Apple iPhone 15, was also seized

12. A forensic examination of the device revealed approximately 200 images of child
    pornography, some of which was included in the CyberTipline Reports that had been
    generated by the NCMEC.

13. Continued review of PITTMAN’s phone extraction revealed additional files of note.
    Specifically, law enforcement observed files PITTMAN had either created or altered to
    depict child pornography or minor children nude. For example, law enforcement observed
    a family photo which depicted four clothed females, all of whom were family members of
    PITTMAN, including Minor Victim One (DOB: 3/2010) and Minor Victim Two (DOB:
    2/2013). The image had originally been taken on or about September 1, 2024. However,
    metadata on the image recovered on PITTMAN’s phone revealed on or about September
    11, 2024, PITTMAN had altered the image, and it now depicted the same four females,
    with Minor Victim One and Minor Victim Two fully nude, exposing their vaginas.
    Additional altered images like this one were recovered, as outlined below, with the text
    “Powered by AI generated” noted on the altered image.

14. Additional images of Minor Victim Two were recovered on PITTMAN’s iPhone. For
    example, metadata on an image of Minor Victim Two revealed it was taken by the iPhone
    at a residence in Kentucky on October 8, 2024. In the image, Minor Victim Two was
    depicted wearing shorts and a shirt. Metadata for a second image revealed PITTMAN
    utilized the first clothed image and photoshopped Minor Victim Two to be fully nude and
    exposing her breasts and vagina and that these alterations occurred on October 10, 2024.

15. Furthermore, a video of Minor Victim Two sleeping on a couch was filmed by PITTMAN
    in the home of Minor Victim Two on or about September 1, 2024. In the video, Minor
    Victim Two was clothed in a t-shirt and underwear. The video depicted PITTMAN
    attempting to film under her blanket and the outline of the buttocks of Minor Victim Two
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       was visible. A second video, with metadata indicating it was created on or about September
       2, 2024 while in Ohio, depicted that same video of Minor Victim Two but this time, altered
       by PITTMAN so Minor Victim Two is nude from the waist up with her breasts
       exposed. Further forensics revealed PITTMAN distributed a screenshot of this altered
       video on December 6, 2024 to another Kik user.

   16. Based upon the above information, your affiant submits that there is probable cause to
       believe that Austin PITTMAN has committed offenses in violation of 18 U.S.C. §§ 2252,
       2252A – the distribution, transmission, receipt, and/or possession of child pornography, or
       attempts of such as well as 18 U.S.C. §§ 2252A(a)(5)(B) and (a)(7) – the possession of AI
       generated child pornography and the production of a morphed image or IA generated child
       pornography. Therefore, your affiant respectfully requests this court issue a criminal
       complaint and arrest warrant.




                                                                 _________________________
                                                                       _______________
                                                                                   Sara Sellars
                                                                                        S
                                                                                 Special Agent
                                                               Homeland Security Investigations


                                        9th day of June, 2025
Sworn and subscribed to before me this _____



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        __ ________________
                         _______________
The
 he Honorableb Chelsey A. Vascu
    Honorraabble            Vascura
Magistrate
M   i      Judge,
           J d U   U.S. District
                     S Di    i C Court
Southern District of Ohio
